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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 KAI BIRD
 Apt. 10 H North
 2 Tudor City Place
 New York, NY 10017

                 Plaintiff,
        v.

 FEDERAL BUREAU OF                                     Civil Action No. __________________
 INVESTIGATION
 935 Pennsylvania Avenue, NW
 Washington, DC 20535

 and

 UNITED STATES DEPARTMENT OF
 JUSTICE
 950 Pennsylvania Avenue, NW
 Washington, DC 20530

                 Defendants.


             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       Plaintiff Kai Bird, by and through his undersigned counsel, hereby alleges as follows:

       1.      This is an action under the Freedom of Information Act, 5 U.S.C. § 552 (“FOIA”

or the “Act”), for declaratory, injunctive, and other appropriate relief against the United States

Department of Justice (“DOJ”) and Federal Bureau of Investigation (“FBI”) (collectively,

“Defendants”).

       2.      By this action, Plaintiff seeks to compel Defendants to comply with their

obligations under FOIA to release records Plaintiff requested. Plaintiff is statutorily entitled to

disclosure of the requested records, which Defendants have withheld in violation of the Act.




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                                               PARTIES

       3.      Plaintiff Kai Bird is a Pulitzer Prize-winning historian, journalist, and biographer.

He is the author of numerous books, including The Good Spy: The Life and Death of Robert Ames;

Crossing Mandelbaum Gate: Coming of Age Between the Arabs and Israelis, 1956–1978; The

Color of Truth: McGeorge Bundy and William Bundy: Brothers in Arms; and American

Prometheus: The Triumph and Tragedy of J. Robert Oppenheimer, for which he and his co-author

were awarded a Pulitzer Prize in 2006.

       4.      Defendant United States Department of Justice is an agency of the federal

government within the meaning of 5 U.S.C. § 551 and 5 U.S.C. § 552(f) that has possession,

custody, and/or control of the records that Plaintiff seeks. The DOJ’s headquarters is located at

950 Pennsylvania Avenue, NW, Washington, DC 20530.

       5.      Defendant Federal Bureau of Investigation, headquartered at 935 Pennsylvania

Avenue NW, Washington, DC 20535, is a component of DOJ that has possession, custody, and/or

control of the records that Plaintiff seeks.

                                 JURISDICTION AND VENUE

       6.      This Court has subject matter jurisdiction over this action and personal jurisdiction

over Defendants pursuant to 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. § 1331.

       7.      Venue lies in this district under 5 U.S.C. § 552(a)(4)(B).

                                               FACTS

       8.      Plaintiff’s FOIA request, described in detail below, was made for newsgathering

purposes in connection with a forthcoming book about Roy Cohn (“Cohn”).

       9.      On November 8, 2022, Plaintiff submitted a FOIA request to the FBI via fax (the

“Request”). A true and correct copy of the Request (and accompanying attachments) is attached

hereto as Exhibit 1 and is incorporated by reference herein.


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10.    Plaintiff’s Request sought certain FBI records regarding Cohn. Ex. 1.

11.    The Request sought, inter alia, the following:

       (1) “All records mentioning or referring to Roy Cohn or Roy M. Cohn or Roy
Marcus Cohn (heretofore referred to as Roy Cohn).”
       (2) “All records, including email correspondence, telexes, faxes, text messages, and
other electronic messages, that include the term Roy Cohn and any of the following
keywords (cases insensitive):
       Subpoena
       The mob
       Fugazi, Salerno, Galanti, Gotti
       Robert Morgenthau
       U.S. District Attorney NY 1952
       United Dye and Chemical Company
       1954 U.S. Army Investigation
       Senator Joseph McCarthy
       Bribery File
       Administrative Inquiry file
       Homosexuality
       Cardinal Spellman
       Henry Hill
       Gays, Communists and Drugs
       Gore Vidal
       Witness Statements
       James W. Pieper
       J. Edgar Hoover
       U.S. Department of Justice
       Donald Trump
       Albert Cohn (father)
       Owen Lattimore
       Irving Saypol
       Abraham Feller
       Allen Dershowtiz [sic]
       Roger Stone
       Sy Newhouse
       Walter Winchell
       David Schine

Note that all of these individuals are long deceased—with the exception of Donald
Trump[,] Allen Dershowtiz [sic] and Roger Stone. To be clear, I am not requesting the files
of each of these named individuals. I am offering up these names as key words that may
help to retrieve files related to Roy Cohn.”
        (3) “All communications including correspondence, memorandum, telexes, faxes,
text messages and electronic messages that refer to Roy Cohn.”




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              (4) “All records mentioning, referring to, or constituting the memorandum sen[t]
       from the United States Attorney’s office for the Southern District of New York seeking
       approval for questioning, arresting, or charging Roy Cohn.”

Ex. 1 at 2–4.

       12.       The Request noted that the FBI had previously released approximately “748 heavily

redacted pages that are part of what is believed to be a 4,000 page file on Roy Cohn” in 2019. Id.

at 3. The 748-page release referenced in the Request is available on the FBI’s website. See

https://vault.fbi.gov/roy-cohn/roy-cohn-part-01-of-01/view.

       13.       Given the FBI’s prior release of records regarding Cohn, the Request sought “a less

redacted or, preferably, an unredacted copy” of the prior 748-page release, as well as “the

remaining pages of the file on Roy Cohn.” Ex. 1 at 2.

       14.       Plaintiff’s Request included background information to assist Defendants in

locating responsive records. See Ex. 1.

       15.       Plaintiff’s Request sought a fee benefit as a representative of the news media under

5 U.S.C. § 552(a)(4)(A)(ii) and set forth facts and argument in support thereof. Id.

       16.       By letter dated November 22, 2022, the FBI assigned some portion of the Request

tracking number 1572933-000 and denied at least this portion of the Request. A true and correct

copy of that letter is attached hereto as Exhibit 2. The subject of the letter is: “COHN, ROY

MARCUS (748 Previously Released Pages).” Ex. 2. The letter states: “It was determined that

the records you requested do not qualify for reprocessing.” Ex. 2.

       17.       By letter dated November 22, 2022, the FBI assigned some portion of the Request

tracking number 1572932-000. A true and correct copy of that letter is attached hereto as Exhibit

3. The subject of the letter is: “COHN, ROY MARCUS.” Ex. 3.




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       18.       By letter dated December 8, 2022, the FBI stated that “unusual circumstances”

applied to the processing of the portion of the Request assigned tracking number 1572932-000. A

true and correct copy of that letter is attached hereto as Exhibit 4.

       19.       On January 31, 2023, Plaintiff, through counsel, submitted an administrative appeal

(the “Appeal”) to DOJ’s Office of Information Policy (“OIP”) challenging the FBI’s denial of the

portion of the Request assigned tracking number 1572933-000. A true and correct copy of the

Appeal is attached hereto as Exhibit 5.

       20.       The Appeal was assigned tracking number A-2023-00698 by DOJ.

                                     Current Status of the Request

       21.       As of the filing of this Complaint, Plaintiff has not received any records or portions

thereof responsive to the Request.

       22.       As of the filing of this Complaint, the Request has been pending for approximately

83 days.

       23.       As of the filing of this Complaint, Plaintiff has not received any determination as

to the Appeal.

       24.       As of the filing of this Complaint, the Appeal has been pending for approximately

29 days.




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                                     CAUSES OF ACTION

                   COUNT I: VIOLATION OF FOIA FOR FAILURE TO
                      COMPLY WITH STATUTORY DEADLINES

       25.      Plaintiff repeats, realleges, and incorporates the allegations set forth in the

foregoing Paragraphs 1 through 24 as though fully set forth herein.

       26.      Defendants are agencies subject to FOIA. 5 U.S.C. §§ 552(f), 551.

       27.      The Request properly seeks records within the possession, custody, and/or control

of Defendants under FOIA.

       28.      The Request complied with all applicable regulations regarding the submission of

FOIA requests.

       29.      Defendants failed to make a determination regarding the Request within the

statutory deadlines as required by FOIA. 5 U.S.C. § 552(a)(6)(A)(i).

       30.      Defendants’ failure to make a determination with respect to the Request within

FOIA’s statutory deadlines violates Defendants’ obligations under FOIA. 5 U.S.C. §

552(a)(6)(A).

       31.      Plaintiff has or is deemed to have exhausted applicable administrative remedies

with respect to the Request. 5 U.S.C. § 552(a)(6)(C)(i).

                   COUNT II: VIOLATION OF FOIA FOR FAILURE TO
                      COMPLY WITH STATUTORY DEADLINES

       32.      Plaintiff repeats, realleges, and incorporates the allegations set forth in the

foregoing Paragraphs 1 through 24 as though fully set forth herein.

       33.      Defendants are agencies subject to FOIA. 5 U.S.C. §§ 552(f), 551.

       34.      The Request properly seeks records within the possession, custody, and/or control

of Defendants under FOIA.




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       35.      The Request complied with all applicable regulations regarding the submission of

FOIA requests.

       36.      The Appeal complied with all applicable regulations regarding the submission of

FOIA administrative appeals.

       37.      Defendants failed to make a determination regarding the Appeal within the

statutory deadlines as required by FOIA. 5 U.S.C. § 552(a)(6)(A)(ii).

       38.      Defendants’ failure to make a determination with respect to the Appeal within

FOIA’s statutory deadlines violates Defendants’ obligations under FOIA. 5 U.S.C. §

552(a)(6)(A).

       39.      Plaintiff has or is deemed to have exhausted applicable administrative remedies

with respect to the Request. 5 U.S.C. § 552(a)(6)(C)(i).

                        COUNT III: VIOLATION OF FOIA FOR
                    FAILURE TO CONDUCT A SUFFICIENT SEARCH

       40.      Plaintiff repeats, realleges, and incorporates the allegations set forth in the

foregoing Paragraphs 1 through 24 as though fully set forth herein.

       41.      Defendants are agencies subject to FOIA. 5 U.S.C. §§ 552(f), 551.

       42.      The Request properly seeks records within the possession, custody, and/or control

of Defendants under FOIA.

       43.      The Request complied with all applicable regulations regarding the submission of

FOIA requests.

       44.      The Appeal complied with all applicable regulations regarding the submission of

FOIA administrative appeals.

       45.      Defendants failed to conduct a sufficient search for responsive records, as required

by FOIA. 5 U.S.C. § 552(a)(3).



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       46.     Defendants’ failure to conduct a sufficient search violates Defendants’ obligations

under FOIA. 5 U.S.C. § 552(a)(3).

       47.     Plaintiff has or is deemed to have exhausted applicable administrative remedies

with respect to the Request. 5 U.S.C. § 552(a)(6)(C)(i).

                  COUNT IV: VIOLATION OF FOIA FOR UNLAWFUL
                      WITHHOLDING OF AGENCY RECORDS

       48.     Plaintiff repeats, realleges, and incorporates the allegations set forth in the

foregoing Paragraphs 1 through 24 as though fully set forth herein.

       49.     Defendants are agencies subject to FOIA. 5 U.S.C. §§ 552(f), 551.

       50.     The Request properly seeks records within the possession, custody, and/or control

of Defendants under FOIA.

       51.     The Request complied with all applicable regulations regarding the submission of

FOIA requests.

       52.     Defendants have not released any records or portions thereof in response to the

Request.

       53.     Defendants have not cited any exemptions to withhold records or portions thereof

that are responsive to the Request.

       54.     Defendants have not identified whether or how disclosure of each of the records or

portions thereof sought by the Request would foreseeably harm an interest protected by a FOIA

exemption and/or why disclosure is prohibited by law. 5 U.S.C. § 552(a)(8)(A).

       55.     Defendants have improperly withheld agency records responsive to the Request in

violation of FOIA. 5 U.S.C. § 552(a)(3)(A).

       56.     Plaintiff has or is deemed to have exhausted applicable administrative remedies

with respect to the Request. 5 U.S.C. § 552(a)(6)(C)(i).



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                                    REQUEST FOR RELIEF

WHEREFORE, Plaintiff respectfully requests this Court:

   (1) order Defendants to conduct a search reasonably calculated to identify all records

       responsive to the Request;

   (2) enjoin Defendants from withholding all records or portions thereof responsive to the

       Request that are not specifically exempt from disclosure under FOIA;

   (3) issue a declaration that Plaintiff is entitled to disclosure of the requested records;

   (4) award Plaintiff reasonable attorney fees and costs reasonably incurred in this action

       pursuant to 5 U.S.C. § 552(a)(4)(E); and

   (5) grant such other relief as the Court may deem just and proper.


Dated: March 15, 2023

                                              Respectfully submitted,

                                              /s/ Katie Townsend
                                                 Katie Townsend
                                                 D.C. Bar No. 1026115
                                                 Email: ktownsend@rcfp.org
                                                 Adam A. Marshall
                                                 DC Bar No. 1029423
                                                 Email: amarshall@rcfp.org
                                                 Gunita Singh
                                                 D.C. Bar No. 1601923
                                                 Email: gsingh@rcfp.org
                                                 Shawn Musgrave
                                                 D.C. Bar No. 90002165
                                                 Email: smusgrave@rcfp.org
                                                 REPORTERS COMMITTEE FOR
                                                 FREEDOM OF THE PRESS
                                                 1156 15th St. NW, Suite 1020
                                                 Washington, DC 20005
                                                 Phone: 202.795.9303
                                                 Facsimile: 202.795.9310

                                                 Counsel for Plaintiff


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